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    6

    7   Attorneys for Debtors and Debtors in
        Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
    8   INC., and SCOOBUR, LLC
    9
                                UNITED STATES BANKRUPTCY COURT
  10
                                 CENTRAL DISTRICT OF CALIFORNIA
  11
                                          LOS ANGELES DIVISION
  12
                                                             Case No. 2:19-bk-14989-WB
  13     In re:                                              Jointly Administered:
                                                             2:19-bk-14991-WB; 2:19-bk-14997-WB
  14     SCOOBEEZ, et al.1
                                                             Chapter 11
  15                Debtors and Debtors in Possession.

  16     Affects:                                            STIPULATION BETWEEN THE DEBTORS
  17                                                         AND AMAZON LOGISTICS, INC. FOR
         ■ All Debtors                                       LIMITED RELIEF FROM THE
  18                                                         AUTOMATIC STAY
         □ Scoobeez, ONLY
  19     □ Scoobeez Global, Inc., ONLY
  20                                                         Hearing:
         □ Scoobur LLC, ONLY                                 Date: February 4, 2020
  21                                                         Time: 10:00 a.m.
                                                             Place: Courtroom 1375
  22                                                                U.S. Bankruptcy Court
                                                                    255 East Temple Street
  23                                                                Los Angeles, CA 90012

  24

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        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              Scoobeez, Scoobeez Global, Inc. and Scoobur, LLC, the debtors and debtors-in-possession
    2   (collectively, the “Debtors”) in the above-captioned jointly administered bankruptcy proceedings
    3   (collectively, the “Chapter 11 Cases”), enter into this stipulation (the “Stipulation”) with Amazon
    4   Logistics, Inc. (the “Movant” and together with the Debtors, the “Parties”) for limited relief from stay.
    5                                                    RECITALS
    6              A.     On January 9, 2020, the Movant filed its Notice of Motion and Motion for Relief from the
    7   Automatic Stay under 11 U.S.C. § 362 [Doc. No. 534] (the “Motion”).
    8              B.     The Motion was duly noticed for hearing on February 4, 2020.
    9              C.     By the Motion, the Movant seeks limited relief from stay from stay to with regard to a
  10    state court litigation titled Oberhauser v. Tomchesson, et al., which is currently pending in the Texas
  11    District Court for the 261st Judicial District, in Travis County, Texas as Case Number D-1-GN-18-
  12    0078588 (the “State Court Action”).
  13               D.     The Movant and the Debtors are both defendants in the State Court Action. The State
  14    Court Action is based on allegations by the Plaintiff of “significant property damage to Plaintiff’s home
  15    that occurred when an Amazon delivery van driven by Defendant Tomchesson, a Scoobeez employee,
  16    crashed into Plaintiff’s home.” See Motion, Ex. 1 (Plaintiff’s Third Amended Petition).
  17               E.     The Movant has filed a proof of claim based on asserted indemnity claims against the
  18    Debtors in relation to the State Court Action. (Claim No. 23). The Movant has also filed a proof of
  19    claim on behalf of the State Court Action plaintiff pursuant to Fed.R.Bankr.P. 3005(a). Claim No. 39.
  20               F.     The Movant and Debtors are being defended in the State Court Action by insurance
  21    counsel.
  22               G.     The Movant seeks a modification of the automatic in order to allow the State Court
  23    Action to proceed to judgment or settlement.
  24               H.     The Motion provides that the “Movant seeks recovery only from applicable insurance, if
  25    any, and waives any deficiency or other claim against the Debtor or property of the Debtor’s bankruptcy
  26    estate.” (Motion, ¶ 4.a.).
  27               I.     The Debtors and Movant wish to stipulate to limited relief from stay as provided herein.
  28


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    1              J.     In accordance with the recitals set forth herein, the Debtors and Movant stipulate and
    2   agree as set forth below.
    3                                                  STIPULATION
    4              Wherefore, the Debtor and the Movant hereby stipulate as follows:
    5              1.     The automatic stay shall be modified to allow the State Court Action to proceed to final
    6   judgment, provided that the stay shall remain in effect with respect to enforcement of any judgment
    7   against the Debtor or property of the Debtors’ bankruptcy estates, except as to any applicable insurance
    8   coverage.
    9              2.     As to the State Court Action and claims based on the State Court Action, Movant waives
  10    any deficiency or other claim against the Debtors or property of the Debtors’ bankruptcy estates except
  11    as to recovery from applicable insurance.
  12               3.     To the extent that the Movant or the State Court Action plaintiff asserts a claim in the
  13    bankruptcy case for payment of any amounts or obligations related to the State Court Action that are not
  14    covered by applicable insurance, the Debtors preserve all rights to object to any such claim.
  15               4.     The scope of this Stipulation is limited to the State Court Action and claims based
  16    thereon, and is without prejudice to the rights of the Parties as to any other matters.
  17               5.     The Parties respectfully request entry of an order approving this Stipulation and granting
  18    the relief stipulated to herein, without further notice pursuant to Rule 4001(d)(4) of the Federal Rules of
  19    Bankruptcy Procedure.
  20               6.     Upon execution of this Stipulation by the Parties, the Debtors shall promptly file this
  21    Stipulation with the Court and seek entry of an order in the form agreed by the Parties.
  22               7.     Provided that the Court enters the order requested in this stipulation prior to February 4,
  23    2020, the Parties request he Parties request that the hearing on the Motion currently scheduled for
  24    February 4, 2020, at 10:00 a.m. be taken off calendar.
  25               8.     The Court shall retain jurisdiction over any disputes arising from or related to the order
  26    entered pursuant to this Stipulation.
  27
                                                [Signatures on following page]
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                                                      PROOF OF SERVICE OF DOCUMENT

        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411



        A true and correct copy of the foregoing document entitled (specify): STIPULATION BETWEEN THE DEBTORS
        AND AMAZON LOGISTICS, INC. FOR LIMITED RELIEF FROM THE AUTOMATIC STAY will be served or was
        served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
        stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
        document. On (date) 01/28/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
        and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
        the email addresses stated below:

                                                                                           Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 01/28/2020, I served the following persons and/or entities at the last known addresses in this
        bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
        United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
        declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012
                                                                            Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


           01/28/2020                     Sonia Gaeta                                              /s/ Sonia Gaeta
           Date                           Printed Name                                             Signature




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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        1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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        Kimberly Walsh bk-kwalsh@texasattorneygeneral.gov
        Eric D Winston ericwinston@quinnemanuel.com
        Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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